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 7

 8                                  UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10   FINELITE, INC.,                                         Case No.

11                                  Plaintiff,               COMPLAINT FOR FALSE PATENT
                                                             MARKING, FALSE ADVERTISING,
12           v.                                              AND UNFAIR COMPETITION

13   LEDALITE ARCHITECTURAL PRODUCTS,                        (35 U.S.C. § 292; 15 U.S.C. § 1125(a);
                                                             Cal. Bus. & Prof. Code §§ 17200, 17500)
14                                  Defendant.               JURY TRIAL DEMANDED
15

16           Plaintiff Finelite, Inc. (“Finelite”), by and through its undersigned attorneys, hereby sues

17   defendant Ledalite Architectural Products (“Ledalite”), as follows.

18                                               THE PARTIES
19           1.       Finelite is a privately held company organized and existing under California law, with

20   a principal place of business at 30500 Whipple Road, Union City, California 94587. Finelite

21   manufactures high performance, environmentally sustainable lighting systems for offices and

22   educational facilities.

23           2.       On information and belief, Ledalite is a Canadian limited partnership having a

24   principal place of business at 19750-92A Avenue, Langley, British Columbia, Canada, that designs,

25   manufactures, and sells lighting fixtures and systems. On information and belief, Ledalite is a

26   subsidiary and lighting group brand of Philips Lighting Business Unit Professional Luminaires North

27   America. Ledalite is a commercial competitor of Finelite.

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     COMPLAINT
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                                                 JURISDICTION
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             3.      Finelite brings this action under 35 U.S.C. §292(b), which provides that any person
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     may sue for civil monetary penalties for false patent marking; under Section 43(a) of the Lanham
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     Act, 15 U.S.C. § 1125(a); and under sections 17200 and 17500 of the California Business and
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     Professions Code. The Court has original subject matter jurisdiction over the false marking and
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     Lanham Act claims under 28 U.S.C §§ 1331 and 1338(a). This Court has original subject matter
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     jurisdiction over the state law claims under 28 U.S.C § 1338(b), and supplemental subject matter
 7
     jurisdiction over the state law claims under 28 U.S.C § 1367(a).
 8
                                                      VENUE
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             4.      Venue in this District is proper under 28 U.S.C. § 1400(b) and/or 28 U.S.C. § 1391(b)
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     and (c). On information and belief, Ledalite has regularly transacted business and committed
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     complained-of acts in this District, and this action arises in part from those transactions of business
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     and acts. Ledalite also is subject to personal jurisdiction in this District.
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                                       INTRADISTRICT ASSIGNMENT
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             5.      This is an Intellectual Property Action. Under the Court’s Assignment Plan and Civ.
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     L.R. 3-2(c), Intellectual Property Actions are assigned to a division on a district-wide basis.
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                                          FACTUAL BACKGROUND
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             6.      Ledalite’s advertising for certain of its lighting products includes at least brochures
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     that it distributes at least via its website, <http://www.ledalite.com/>.
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     COMPLAINT                                            2
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                     Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”
 1                   “Meso X1,” “Thrive,” and “TLS” Suspended Luminaire Products
 2          7.      A true and correct copy of a Ledalite brochure for its “Achieva” line of fixtures,

 3   downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Achieva.pdf>, is attached

 4   hereto as Exhibit 1. Ledalite’s brochure for its “Achieva” line of fixtures describes them as

 5   “suspended lighting systems”:

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            8.      A true and correct copy of a Ledalite brochure for its “Crescendo” line of fixtures,
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     downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Crescendo.pdf>, is attached
15
     hereto as Exhibit 2. Ledalite’s brochure for its “Crescendo” line of fixtures describes them as
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     “suspended luminaires”:
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     COMPLAINT                                         3
              Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 4 of 32



 1          9.      A true and correct copy of a Ledalite brochure for its “edapt” line of fixtures,

 2   downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/edapt.pdf>, is

 3   attached hereto as Exhibit 3. Ledalite’s brochure for its “edapt” line of fixtures describes them as

 4   suspended luminaires:

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15          10.     A true and correct copy of a Ledalite brochure for its “Endeavor” line of fixtures,

16   downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Endeavor.pdf>, is attached

17   hereto as Exhibit 4. Ledalite’s brochure for its “Endeavor” line of fixtures describes them as

18   “suspended lighting systems”:

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            11.     A true and correct copy of a Ledalite brochure for its “Float” line of fixtures,
27
     downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/Float.pdf>, is attached
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     COMPLAINT                                          4
              Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 5 of 32



 1   hereto as Exhibit 5. Ledalite’s brochure for its “Float” line of fixtures depicts the “Float” luminaires

 2   suspended from ceilings:

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            12.     A true and correct copy of a Ledalite brochure for its “Meso X1” line of fixtures,
11
     downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/MesoX1.pdf>, is attached
12
     hereto as Exhibit 6. Ledalite’s brochure for its “Meso X1” line of fixtures depicts and describes
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     them as “suspended”:
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     COMPLAINT                                          5
              Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 6 of 32



 1          13.     A true and correct copy of a Ledalite brochure for its “Thrive” line of fixtures,

 2   downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Thrive.pdf>, is attached

 3   hereto as Exhibit 7. Ledalite’s brochure for its “Thrive” line of fixtures describes them as

 4   “suspended lighting systems”:

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            14.     A true and correct copy of a Ledalite brochure for its “TLS” line of fixtures,
13
     downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/TLS.pdf>, is attached
14
     hereto as Exhibit 8. Ledalite’s brochure for its “TLS” line of fixtures depicts and describes them as
15
     “suspended”:
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     COMPLAINT                                          6
              Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 7 of 32


                              Ledalite’s “PureFX,” “PureFX Micro,” and “Shine”
 1                                        Recessed Luminaire Products
 2          15.     A true and correct copy of a Ledalite brochure for its “PureFX” line of fixtures,

 3   downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/PureFX.pdf>, is

 4   attached hereto as Exhibit 9. Ledalite’s brochure for its “PureFX” line of fixtures describes them as

 5   “recessed” luminaires:

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15          16.     A true and correct copy of a Ledalite brochure for its “PureFX Micro” line of fixtures,
16   downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/PureFX_Micro.pdf>,
17   is attached hereto as Exhibit 10. Ledalite’s brochure for its “PureFX Micro” line of fixtures
18   describes them as “recessed” luminaires:
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            17.     A true and correct copy of a Ledalite brochure for its “Shine” line of fixtures,
27
     downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Shine.pdf>, is attached
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     COMPLAINT                                          7
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 1   hereto as Exhibit 11. Ledalite’s brochure for its “Shine” line of fixtures describes them as “recessed

 2   lighting”:

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 7                                    Ledalite’s “Pique” and “Vectra”
                               Surface Mount or Recessed Luminaire Products
 8
            18.     A true and correct copy of a Ledalite brochure for its “Pique” line of fixtures,
 9
     downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/Pique.pdf>, is
10
     attached hereto as Exhibit 12. Ledalite’s brochure for its “Pique” line of fixtures describes them as
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     “surface mount” and “recessed luminaires”:
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     COMPLAINT                                          8
              Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 9 of 32



 1          19.     A true and correct copy of a Ledalite brochure for its “Vectra” line of fixtures,

 2   downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Vectra.pdf>, is attached

 3   hereto as Exhibit 13. Ledalite’s brochure for its “Vectra” line of fixtures describes them as

 4   “recessed lighting systems”:

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12                    Ledalite’s “Centris” “Chopstick,” “Minuet,” “Quartet” “Sona,”
                    “Sync,” and “Verge” Suspended or Wall Mount Luminaire Products
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            20.     A true and correct copy of a Ledalite brochure for its “Centris” line of fixtures,
14
     downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Centris.pdf>, is attached
15
     hereto as Exhibit 14. Ledalite’s brochure for its “Centris” line of fixtures describes them as
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     “suspended and wall mounted lighting systems”:
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     COMPLAINT                                          9
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 10 of 32



 1          21.     A true and correct copy of a Ledalite brochure for its “Chopstick” line of fixtures,

 2   downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/Chopstick.pdf>, is

 3   attached hereto as Exhibit 15. Ledalite’s brochure for its “Chopstick” line of fixtures describes them

 4   as semi-indirect lighting units that can be suspended from a ceiling or mounted on a wall:

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10          22.     A true and correct copy of a Ledalite brochure for its “Minuet” line of fixtures,
11   downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Minuet.pdf>, is attached
12   hereto as Exhibit 16. Ledalite’s brochure for its “Minuet” line of fixtures describes them as
13   “suspended” or “wall mounted” luminaires:
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     COMPLAINT                                         10
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 11 of 32



 1          23.     A true and correct copy of a Ledalite brochure for its “Quartet” line of fixtures,

 2   downloaded from Ledalite’s website, <http://ledalite.com/download/pdf/Quartet.pdf>, is attached

 3   hereto as Exhibit 17. Ledalite’s brochure for its “Quartet” line of fixtures describes them as

 4   “suspended” or “wall mounted” luminaires:

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            24.     A true and correct copy of a Ledalite brochure for its “Sona” line of fixtures,
12
     downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/Sona.pdf>, is attached
13
     hereto as Exhibit 18. Ledalite’s brochure for its “Sona” line of fixtures describes them as
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     “suspended” or “wall mount” luminaires:
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     COMPLAINT                                          11
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 12 of 32



 1          25.     A true and correct copy of a Ledalite brochure for its “Sync” line of fixtures,

 2   downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/Sync.pdf>, is attached

 3   hereto as Exhibit 19. Ledalite’s brochure for its “Sync” line of fixtures describes them as

 4   “suspended” or “wall mount” luminaires:

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            26.     A true and correct copy of a Ledalite brochure for its “Verge” line of fixtures,
10
     downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/Verge.pdf>, is
11
     attached hereto as Exhibit 20. Ledalite’s brochure for its “Verge” line of fixtures describes them as
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     “suspended” or “wall mount” luminaires:
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     COMPLAINT                                         12
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 13 of 32


                                Ledalite’s “Voice” Suspended, Surface Mount,
 1                               Wall Mount or Recessed Luminaire Products
 2          27.     A true and correct copy of a Ledalite brochure for its “Voice” line of fixtures,

 3   downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/Voice.pdf>, is

 4   attached hereto as Exhibit 21. Ledalite’s brochure for its “Voice” line of fixtures describes it as a

 5   family of “suspended, surface mount, wall mount or recessed luminaires”:

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16                            Ledalite’s “In-Cove II” Cove Luminaire Products
17          28.     A true and correct copy of a Ledalite brochure for its “In-Cove II” line of fixtures,

18   downloaded from Ledalite’s website, <http://www.ledalite.com/download/pdf/In-CoveII.pdf>, is

19   attached hereto as Exhibit 22. Ledalite’s brochure for its “In-Cove II” line of fixtures describes it as

20   “cove lighting … for cove applications”:

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     COMPLAINT                                          13
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 14 of 32


                      Ledalite’s “Airwave” and “Response Daylight” Control Products
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            29.     A true and correct copy of a Ledalite brochure for its “Airwave” line of wireless
 2
     controls, downloaded from Ledalite’s website,
 3
     <http://www.ledalite.com/download/pdf/Airwave.pdf>, is attached hereto as Exhibit 23. Ledalite’s
 4
     brochure for its “Airwave” line describes wireless self-powered controls – “[s]ensors energized by
 5
     the light they collect,” and “[s]witches powered by the motion used to operate them”:
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            30.     A true and correct copy of a Ledalite brochure for its “Response Daylight” line of
13
     controls, downloaded from Ledalite’s website,
14
     <http://www.ledalite.com/download/pdf/Response_Daylight.pdf>, is attached hereto as Exhibit 24.
15
     Ledalite’s brochure for its “Response Daylight” line of controls describes them as “integrated into
16
     Ledalite’s luminaires”:
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                                    Ledalite’s Brochures’ Patent Marking
27
            31.     The back page of Ledalite’s “Achieva” brochure (Exhibit 1), “Centris” brochure
28
     (Exhibit 14), “Chopstick” brochure (Exhibit 15), “Crescendo” brochure (Exhibit 2), “edapt”

     COMPLAINT                                         14
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 1   brochure (Exhibit 3), “Endeavor” brochure (Exhibit 4), “In-Cove II” brochure (Exhibit 22), “Meso

 2   X1” brochure (Exhibit 6), “Minuet” brochure (Exhibit 16), “PureFX Micro” brochure (Exhibit 10),

 3   “PureFX” brochure (Exhibit 9), “Quartet” brochure (Exhibit 17), “Response Daylight” brochure

 4   (Exhibit 24), “Sona” brochure (Exhibit 18), “Sync” brochure (Exhibit 19), “Thrive” brochure

 5   (Exhibit 7), “TLS” brochure (Exhibit 8), “Vectra” brochure (Exhibit 13), “Verge” brochure (Exhibit

 6   20), and “Voice” brochure (Exhibit 21), and the 12th page of Ledalite’s “Float” brochure (Exhibit 5),

 7   assert, in relevant part: “These products may be protected by applicable utility and design patents

 8   and patents pending including, but not limited to: US Patents 6,037,593; 6,007,217; 5,834,765;

 9   5,727,870; 5,624,202; 5,253,036; D496,121; D556,358; D572,858 and/or Canadian Patents

10   2,175,554; 2,175,553; 2,238,557 and corresponding foreign patents. Ledalite will aggressively

11   defend all of its intellectual property.”

12           32.     The back page of Ledalite’s “Pique” brochure (Exhibit 12) and “Airwave” brochure

13   (Exhibit 23) assert, in relevant part: “These products may be protected by applicable utility and

14   design patents and patents pending including, but not limited to: US Patents 5,253,036; 5,624,202;

15   5,727,870; 5,834,765; 6,007,217; 6,037,593; D496,121; D556,358; D572,858; D579,598; D595,006

16   and/or corresponding foreign patents. Ledalite will aggressively defend all of its intellectual

17   property.” This language lists the same patents listed in the language quoted at paragraph 31, above,

18   with the addition of US Design Patents D579,598 and D595,006.

19           33.     The back page of Ledalite’s “Shine” brochure (Exhibit 11) asserts, in relevant part:

20   “These products may be protected by applicable utility and design patents and patents pending

21   including, but not limited to: US Patents 7,660,039; 5,727,870; 5,834,765; 6,007,217; 6,037,593;

22   D496,121; D556,358; D572,858; D579,598; D595,006 and/or corresponding foreign patents.

23   Ledalite will aggressively defend all of its intellectual property.” This language lists the same

24   patents listed in the language quoted at paragraph 32, above, with the addition of US Patent

25   7,660,039.

26           34.     As a matter of law, the fact of Ledalite’s false marking creates a presumption that

27   Ledalite has acted for the purpose of deceiving the public.

28           35.     There is no legal reason for Ledalite to mark any patent numbers on its product


     COMPLAINT                                          15
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 1   brochures. 35 U.S.C. § 287(a) provides that patentees may mark products or product packaging with

 2   patent numbers to place the public on constructive notice of the patent:

 3          Patentees, and persons making, offering for sale, or selling within the United
            States any patented article for or under them, or importing any patented article
 4          into the United States, may give notice to the public that the same is patented,
            either by fixing thereon the word ‘patent’ or the abbreviation ‘pat.,’ together with
 5          the number of the patent, or when, from the character of the article, this cannot be
            done, by fixing to it, or to the package wherein one or more of them is contained,
 6          a label containing a like notice. In the event of failure so to mark, no damages
            shall be recovered by the patentee in any action for infringement, except on proof
 7          that the infringer was notified of the infringement and continued to infringe
            thereafter, in which event damages may be recovered only for infringement
 8          occurring after such notice. Filing of an action for infringement shall constitute
            such notice.
 9
     Neither 35 U.S.C. § 287, nor any other provision of the Patent Act, confers any benefits on a
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     patentee who marks advertising for a product, rather than a product itself or the packaging thereof.
11
     Accordingly, Ledalite cannot have marked its advertising with patents that unmistakably do not
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     cover the depicted products in an attempt to secure legal benefits.
13
            36.     On information and belief, after a reasonable opportunity for further investigation or
14
     discovery, evidence will show that Ledalite has knowingly marked at least its advertising with
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     multiple inapposite patents, along with a warning that “Ledalite will aggressively defend all of its
16
     intellectual property,” for the purpose of deceiving the public – and in particular, its potential
17
     customers and potential competitors, including Finelite.
18
            37.     On information and belief, after a reasonable opportunity for further investigation or
19
     discovery, evidence will show that Ledalite has knowingly marked at least its advertising with a
20
     claim that Ledalite’s products “may be protected by” multiple patents that, in fact, unmistakably do
21
     not cover or protect the product in question. On information and belief, after a reasonable
22
     opportunity for further investigation or discovery, evidence will show that Ledalite has done so in an
23
     intentional attempt to shift to the public the cost of determining whether the marked patents actually
24
     cover the product in question, as well as the risk that such determination might be wrong.
25
            38.     Ledalite has violated 35 U.S.C. § 292(a), at least by marking certain product
26
     brochures with patents that unmistakably do not cover the depicted products for the purpose of
27
     deceiving the public.
28


     COMPLAINT                                           16
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 1          39.     Ledalite’s false statements in its advertising, including its use of multiple inapposite

 2   patent numbers in conjunction with a warning that “Ledalite will aggressively defend all of its

 3   intellectual property,” has likely diverted business from Ledalite’s competitors, including Finelite, to

 4   Ledalite.

 5                                         COUNT I
                         FALSE PATENT MARKING – U.S. PAT. NO. 5,253,036
 6                                     (35 U.S.C. § 292)
 7          40.     Finelite hereby incorporates by reference, as though fully set forth herein, the

 8   allegations of paragraphs 1 through 39 above.

 9          41.     United States Patent No. 5,253,036 (the “’036 patent”), entitled “near-field

10   photometric method and apparatus,” issued on October 12, 1993. A true and correct copy of the

11   ’036 patent is attached hereto as Exhibit 25. The ’036 patent only covers or protects, by way of any

12   patent property right, an apparatus or method “for measuring the photic field surrounding a light

13   source.”

14          42.     By definition, Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”

15   “Meso X1,” “Thrive,” and “TLS” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, 7, and 8),

16   “PureFX,” “PureFX Micro,” and “Shine” recessed luminaires (Exhibits 9, 10, and 11), “Pique” and

17   “Vectra” surface mount or recessed luminaires (Exhibits 12 and 13), “Centris,” “Chopstick,”

18   “Minuet,” “Quartet” “Sona,” “Sync,” and “Verge” suspended or wall mount luminaires (Exhibits 14,

19   15, 16, 17, 18, 19, and 20), “Voice” suspended, surface mount, wall mount or recessed luminaires

20   (Exhibit 21), “In-Cove II” cove luminaires (Exhibit 22), “Airwave” wireless self-powered controls

21   (Exhibit 23), and “Response Daylight” integrated controls (Exhibit 24) are or contain or control light

22   sources; they are not used “for measuring the photic field surrounding a light source.” Accordingly,

23   at least Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,”

24   “TLS,” “PureFX,” “PureFX Micro,” “Shine,” “Pique,” “Vectra,” “Centris,” “Chopstick,” “Minuet,”

25   “Quartet” “Sona,” “Sync,” “Verge,” “Voice,” “In-Cove II,” “Airwave,” and “Response Daylight”

26   products are unmistakably not covered or protected by the ’036 patent.

27          43.     Ledalite has falsely marked or caused to be marked, at least the “Achieva,”

28   “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “PureFX,” “PureFX


     COMPLAINT                                          17
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 1   Micro,” “Shine,” “Pique,” “Vectra,” “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,”

 2   “Verge,” “Voice,” “In-Cove II,” “Airwave,” and “Response Daylight” products and/or the

 3   advertising therefor, with the ’036 patent.

 4          44.     On information and belief, after a reasonable opportunity for further investigation or

 5   discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and

 6   was therefore in violation of 35 U.S.C. § 292(a).

 7                                        COUNT II
                         FALSE PATENT MARKING – U.S. PAT. NO. 5,624,202
 8                                     (35 U.S.C. § 292)
 9          45.     Finelite hereby incorporates by reference, as though fully set forth herein, the

10   allegations of paragraphs 1 through 39 above.

11          46.     United States Patent No. 5,624,202 (the “’202 patent”), entitled “integral joint and

12   mounting assembly for suspended linear structures,” issued on April 29, 1997. A true and correct

13   copy of the ’202 patent is attached hereto as Exhibit 26. The ’202 patent only covers or protects, by

14   way of any patent property right, “[a]n integral assembly” or “method” “for mounting a plurality of

15   structures end-to-end, in locked alignment.” Accordingly, the ’202 patent covers assemblies that

16   both join and mount “suspended linear structures, particularly lighting and other fixtures.”

17          47.     By definition, Ledalite’s “PureFX,” “PureFX Micro,” and “Shine” recessed

18   luminaires (Exhibits 9, 10, and 11), “Pique” and “Vectra” surface mount or recessed luminaires

19   (Exhibits 12 and 13), and “In-Cove II” cove luminaires (Exhibit 22), are not “suspended linear

20   structures” that can be joined and mounted as claimed in the ’202 patent. Accordingly, at least

21   Ledalite’s “PureFX,” “PureFX Micro,” “Shine,” “Pique,” “Vectra,” and “In-Cove II” products are

22   unmistakably not covered or protected by the ’202 patent.

23          48.     Ledalite has falsely marked or caused to be marked, at least the “PureFX,” “PureFX

24   Micro,” “Shine,” “Pique,” “Vectra,” and “In-Cove II” products and/or the advertising therefor, with

25   the ’202 patent.

26          49.     On information and belief, after a reasonable opportunity for further investigation or

27   discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and

28   was therefore in violation of 35 U.S.C. § 292(a).


     COMPLAINT                                           18
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                                         COUNT III
 1                       FALSE PATENT MARKING – U.S. PAT. NO. 5,727,870
                                       (35 U.S.C. § 292)
 2
            50.     Finelite hereby incorporates by reference, as though fully set forth herein, the
 3
     allegations of paragraphs 1 through 39 above.
 4
            51.     United States Patent No. 5,727,870 (the “’870 patent”), entitled “indirect asymmetric
 5
     luminaire assembly,” issued on March 17, 1998. A true and correct copy of the ’870 patent is
 6
     attached hereto as Exhibit 27. The ’870 patent only covers or protects, by way of any patent
 7
     property right, “[a]n indirect asymmetric luminaire assembly for maximizing utilization of light”
 8
     which “arrange[s] [its] linear lamps so that the longitudinal axes overlap in a plane but are offset in
 9
     first and second orthogonal directions,” or a method of maximizing utilization of light using such an
10
     assembly. A “cross-section view” of such a luminaire shows the offset linear lamps (51 and 53):
11

12

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            52.     At least the brochures for Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,”
19
     “Float,” “Meso X1,” and “Thrive” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, and 7), “PureFX”
20
     and “Shine” recessed luminaires (Exhibits 9 and 11), “Pique” and “Vectra” surface mount or
21
     recessed luminaires (Exhibits 12 and 13), “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,”
22
     “Sync,” and “Verge” suspended or wall mount luminaires (Exhibits 14, 15, 16, 17, 18, 19, and 20),
23
     and “Voice” suspended, surface mount, wall mount or recessed luminaires (Exhibit 21), depict
24
     luminaires in which the longitudinal axes of the lamps are not offset, but rather, are “aligned along
25
     their respective longitudinal axes,” like the prior art luminaires distinguished by the ’870 patent.
26
     Accordingly, on information and belief, after a reasonable opportunity for further investigation or
27
     discovery, evidence will show that at least Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,”
28
     “Float,” “Meso X1,” “Thrive” “PureFX,” “Shine,” “Pique,” “Vectra,” “Centris,” “Chopstick,”

     COMPLAINT                                          19
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 1   “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” and “Voice” products are unmistakably not covered

 2   or protected by the ’870 patent.

 3          53.     Ledalite has falsely marked or caused to be marked, at least the Achieva,”

 4   “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive” “PureFX,” “Shine,” “Pique,”

 5   “Vectra,” “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” and “Voice”

 6   products and/or the advertising therefor, with the ’870 patent.

 7          54.     On information and belief, after a reasonable opportunity for further investigation or

 8   discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and

 9   was therefore in violation of 35 U.S.C. § 292(a).

10                                        COUNT IV
                         FALSE PATENT MARKING – U.S. PAT. NO. 6,007,217
11                                     (35 U.S.C. § 292)
12          55.     Finelite hereby incorporates by reference, as though fully set forth herein, the

13   allegations of paragraphs 1 through 39 above.

14          56.     United States Patent No. 6,007,217 (the “’217 patent”), entitled “luminaire assembly

15   mounting system,” issued on December 28, 1999. A true and correct copy of the ’217 patent is

16   attached hereto as Exhibit 28. The ’217 patent only covers or protects, by way of any patent

17   property right, “[i]n a luminaire assembly, a mounting system” that “position[s] one of [the] sections

18   of the mounting system flat against a surface” using “at least one end plate secured to the [luminaire]

19   body at one end and having a mounting tab [that] secures the associated one of said sections to said

20   surface.” Accordingly, the ’217 patent only covers or protects mounting systems that, inter alia, use

21   an end plate with a mounting tab to secure the luminaire assembly “flat against a surface,” such as a

22   ceiling or wall.

23          57.     By definition, Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”

24   “Meso X1,” “Thrive,” and “TLS” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, 7, and 8), and

25   “PureFX,” “PureFX Micro,” and “Shine” recessed luminaires (Exhibits 9, 10, and 11), are not

26   mounted “flat against a surface,” such as a ceiling or wall. Accordingly, at least Ledalite’s

27   “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “PureFX,”

28   “PureFX Micro,” and “Shine” products are unmistakably not covered or protected by the ’217


     COMPLAINT                                           20
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 21 of 32



 1   patent, nor are they mounted using any product covered or protected by the ’217 patent.

 2          58.     Ledalite has falsely marked or caused to be marked, at least the “Achieva,”

 3   “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “PureFX,” “PureFX

 4   Micro,” and “Shine” products and/or the advertising therefor, with the ’217 patent.

 5          59.     On information and belief, after a reasonable opportunity for further investigation or

 6   discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and

 7   was therefore in violation of 35 U.S.C. § 292(a).

 8                                        COUNT V
                         FALSE PATENT MARKING – U.S. PAT. NO. D496,121
 9                                     (35 U.S.C. § 292)
10          60.     Finelite hereby incorporates by reference, as though fully set forth herein, the

11   allegations of paragraphs 1 through 39 above.

12          61.     United States Patent No. D496,121 (the “D’121 patent”), entitled “recessed

13   fluorescent luminaire,” issued on September 14, 2004. A true and correct copy of the D’121 patent

14   is attached hereto as Exhibit 29. The D’121 patent only covers or protects, by way of any patent

15   property right, an ornamental design for a recessed fluorescent luminaire with a curved center piece:

16

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18

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            62.     By definition, Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”
24
     “Meso X1,” “Thrive,” and “TLS” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, 7, and 8),
25
     “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” and “Verge” suspended or wall mount
26
     luminaires (Exhibits 14, 15, 16, 17, 18, 19, and 20), and “In-Cove II” cove luminaires (Exhibit 22),
27
     are not recessed fluorescent luminaires. Moreover, although Ledalite’s “Shine,” “Pique,” “Vectra,”
28


     COMPLAINT                                           21
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 1   and “Voice” product lines include recessed luminaires (Exhibits 11, 12, 13, and 21), those luminaires

 2   lack a curved center piece:

 3

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 5

 6

 7                           “Shine”                                        “Pique”

 8

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10

11

12                           “Vectra”                                       “Voice”

13   Accordingly, at least Ledalite’s “edapt,” “Float,” “Chopstick,” “Sona,” “Sync,” “Verge,” “Pique”
14   and “Voice” products are unmistakably not covered or protected by the D’121 patent.
15          63.     Ledalite has falsely marked or caused to be marked, at least the “Achieva,”
16   “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “Centris,” “Chopstick,”
17   “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” “In-Cove II,” “Shine,” “Pique,” “Vectra,” and
18   “Voice” products and/or the advertising therefor, with the D’121 patent.
19          64.     On information and belief, after a reasonable opportunity for further investigation or
20   discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and
21   was therefore in violation of 35 U.S.C. § 292(a).
22
                                          COUNT VI
23                       FALSE PATENT MARKING – U.S. PAT. NO. D556,358
                                       (35 U.S.C. § 292)
24          65.     Finelite hereby incorporates by reference, as though fully set forth herein, the
25   allegations of paragraphs 1 through 39 above.
26          66.     United States Patent No. D556,358 (the “D’358 patent”), entitled “recessed
27   fluorescent luminaire,” issued on November 27, 2007. A true and correct copy of the D’358 patent
28   is attached hereto as Exhibit 30. The D’358 patent only covers or protects, by way of any patent

     COMPLAINT                                           22
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 23 of 32



 1   property right, an ornamental design for a recessed fluorescent luminaire with an extruded

 2   rectangular center piece:

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10          67.     By definition, Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”

11   “Meso X1,” “Thrive,” and “TLS” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, 7, and 8),

12   “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” and “Verge” suspended or wall mount

13   luminaires (Exhibits 14, 15, 16, 17, 18, 19, and 20), and “In-Cove II” cove luminaires (Exhibit 22),

14   are not recessed fluorescent luminaires. Moreover, although Ledalite’s “PureFX,” “PureFX Micro,”

15   and “Pique” product lines include recessed luminaires (Exhibits, 9, 10, and 12), those luminaires

16   lack an extruded rectangular center piece:

17

18

19

20
                             “PureFX”                                  “PureFX Micro”
21

22

23

24
                                                    “Pique”
25
     Accordingly, at least Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,”
26
     “Thrive,” “TLS,” “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” and “In-
27
     Cove II” products are unmistakably not covered or protected by the D’358 patent.
28


     COMPLAINT                                         23
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 24 of 32



 1          68.     Ledalite has falsely marked or caused to be marked, at least the “Achieva,”

 2   “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “Centris,” “Chopstick,”

 3   “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” and “In-Cove II” products and/or the advertising

 4   therefor, with the D’358 patent.

 5          69.     On information and belief, after a reasonable opportunity for further investigation or

 6   discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and

 7   was therefore in violation of 35 U.S.C. § 292(a).

 8                                       COUNT VII
                         FALSE PATENT MARKING – U.S. PAT. NO. D572,858
 9                                     (35 U.S.C. § 292)
10          70.     Finelite hereby incorporates by reference, as though fully set forth herein, the

11   allegations of paragraphs 1 through 39 above.

12          71.     United States Patent No. D572,858 (the “D’858 patent”), entitled “recessed

13   fluorescent luminaire,” issued on July 8, 2008. A true and correct copy of the D’858 patent is

14   attached hereto as Exhibit 31. The D’858 patent only covers or protects, by way of any patent

15   property right, an ornamental design for a recessed fluorescent luminaire with an extruded

16   rectangular center piece:

17

18

19

20

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23

24          72.     By definition, Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”

25   “Meso X1,” “Thrive,” and “TLS” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, 7, and 8),

26   “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” and “Verge” suspended or wall mount

27   luminaires (Exhibits 14, 15, 16, 17, 18, 19, and 20), and “In-Cove II” cove luminaires (Exhibit 22),

28   are not recessed fluorescent luminaires. Moreover, although Ledalite’s “PureFX,” “PureFX Micro,”


     COMPLAINT                                           24
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 1   and “Pique” product lines include recessed luminaires (Exhibits, 9, 10, and 12), those luminaires

 2   lack an extruded rectangular center piece:

 3

 4

 5

 6
                            “PureFX”                                    “PureFX Micro”
 7

 8

 9
10
                                                     “Pique”
11
     Accordingly, at least Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,”
12
     “Thrive,” “TLS,” “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” and “In-
13
     Cove II” products are unmistakably not covered or protected by the D’858 patent.
14
            73.     Ledalite has falsely marked or caused to be marked, at least the “Achieva,”
15
     “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “Centris,” “Chopstick,”
16
     “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” and “In-Cove II” products and/or the advertising
17
     therefor, with the D’858 patent.
18
            74.     On information and belief, after a reasonable opportunity for further investigation or
19
     discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and
20
     was therefore in violation of 35 U.S.C. § 292(a).
21

22                                       COUNT VIII
                         FALSE PATENT MARKING – U.S. PAT. NO. D579,598
23                                     (35 U.S.C. § 292)
            75.     Finelite hereby incorporates by reference, as though fully set forth herein, the
24
     allegations of paragraphs 1 through 39 above.
25
            76.     United States Patent No. D579,598 (the “D’598 patent”), entitled “recessed
26
     fluorescent luminaire,” issued on October 28, 2008. A true and correct copy of the D’598 patent is
27
     attached hereto as Exhibit 32. The D’598 patent only covers or protects, by way of any patent
28


     COMPLAINT                                           25
                Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 26 of 32



 1   property right, an ornamental design for a recessed fluorescent luminaire with a perforated

 2   rectangular center piece and a flat “light diffuser” made of “translucent material,” all in parallel

 3   planes:

 4

 5

 6

 7

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10

11             77.   By definition, Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”

12   “Meso X1,” “Thrive,” and “TLS” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, 7, and 8),

13   “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” and “Verge” suspended or wall mount

14   luminaires (Exhibits 14, 15, 16, 17, 18, 19, and 20), and “In-Cove II” cove luminaires (Exhibit 22),

15   are not recessed fluorescent luminaires. Moreover, although Ledalite’s “PureFX,” “PureFX Micro,”

16   “Shine,” “Pique,” and “Vectra” product lines include recessed luminaires (Exhibits 9, 10, 11, 12, and

17   13), those luminaires lack a perforated rectangular center piece and a flat light diffuser made of

18   translucent material:

19

20

21

22
                             “PureFX”                                    “PureFX Micro”
23

24

25

26

27
                              “Shine”                                        “Pique”
28


     COMPLAINT                                           26
             Case 3:10-cv-01276-MMC Document 1 Filed 03/25/10 Page 27 of 32



 1

 2

 3

 4                                                   “Vectra”

 5
     Accordingly, at least Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,”
 6
     “Thrive,” “TLS,” “Centris,” “Chopstick,” “Minuet,” “Quartet,” “Sona,” “Sync,” “Verge,” “In-Cove
 7
     II,” “PureFX,” “PureFX Micro,” “Shine,” “Pique,” “Vectra,” “Centris,” “Chopstick,” “Minuet,”
 8
     “Quartet” “Sona,” “Sync,” and “Verge” products are unmistakably not covered or protected by the
 9
     D’598 patent.
10
            78.      Ledalite has falsely marked or caused to be marked, at least the “Achieva,”
11
     “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “Centris,” “Chopstick,”
12
     “Minuet,” “Quartet,” “Sona,” “Sync,” “Verge,” “In-Cove II,” “PureFX,” “PureFX Micro,” “Shine,”
13
     “Pique,” “Vectra,” “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” and “Verge”
14
     products and/or the advertising therefor, with the D’598 patent.
15
            79.      On information and belief, after a reasonable opportunity for further investigation or
16
     discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and
17
     was therefore in violation of 35 U.S.C. § 292(a).
18
                                           COUNT IX
19                        FALSE PATENT MARKING – U.S. PAT. NO. D595,006
                                        (35 U.S.C. § 292)
20
            80.      Finelite hereby incorporates by reference, as though fully set forth herein, the
21
     allegations of paragraphs 1 through 39 above.
22
            81.      United States Patent No. D595,006 (the “D’006 patent”), entitled “recessed
23
     fluorescent luminaire,” issued on June 23, 2009. A true and correct copy of the D’006 patent is
24
     attached hereto as Exhibit 33. The D’006 patent only covers or protects, by way of any patent
25
     property right, an ornamental design for a recessed fluorescent luminaire with an extruded
26
     rectangular center piece:
27

28


     COMPLAINT                                           27
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            82.     By definition, Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,” “Float,”
 8
     “Meso X1,” “Thrive,” and “TLS” suspended luminaires (Exhibits 1, 2, 3, 4, 5, 6, 7, and 8),
 9
     “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,” and “Verge” suspended or wall mount
10
     luminaires (Exhibits 14, 15, 16, 17, 18, 19, and 20), and “In-Cove II” cove luminaires (Exhibit 22),
11
     are not recessed fluorescent luminaires. Moreover, although Ledalite’s “PureFX,” “PureFX Micro,”
12
     and “Pique” product lines include recessed luminaires (Exhibits, 9, 10, and 12), those luminaires
13
     lack an extruded rectangular center piece:
14

15

16

17

18                          “PureFX”                                   “PureFX Micro”

19

20

21

22                                                  “Pique”

23          83.     Accordingly, at least Ledalite’s “Achieva,” “Crescendo,” “edapt,” “Endeavor,”
24   “Float,” “Meso X1,” “Thrive,” “TLS,” “Centris,” “Chopstick,” “Minuet,” “Quartet” “Sona,” “Sync,”
25   “Verge,” and “In-Cove II” products are unmistakably not covered or protected by the D’006 patent.
26          84.     Ledalite has falsely marked or caused to be marked, at least the “Achieva,”
27   “Crescendo,” “edapt,” “Endeavor,” “Float,” “Meso X1,” “Thrive,” “TLS,” “Centris,” “Chopstick,”
28   “Minuet,” “Quartet” “Sona,” “Sync,” “Verge,” and “In-Cove II” products and/or the advertising

     COMPLAINT                                         28
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 1   therefor, with the D’006 patent.

 2          85.     On information and belief, after a reasonable opportunity for further investigation or

 3   discovery, evidence will show that Ledalite’s marking was with the intent to deceive the public, and

 4   was therefore in violation of 35 U.S.C. § 292(a).

 5                                          COUNT X
                           FALSE ADVERTISING UNDER THE LANHAM ACT
 6                                     (15 U.S.C. § 1125(a))
 7          86.     Finelite hereby incorporates by reference, as though fully set forth herein, the

 8   allegations of paragraphs 1 through 85 above.

 9          87.     Ledalite’s product brochures are commercial advertising.

10          88.     At least to the extent that Ledalite’s product brochures claim that the products are

11   covered or protected by patents that do not, in fact, cover or protect the advertised products, those

12   brochures contain false statements of fact.

13          89.     Ledalite’s false statements are likely to deceive a substantial segment of their

14   audience into believing that that the products are, in fact, covered or protected by the listed patents.

15          90.     Ledalite’s false statements are material, in that they are likely to influence the

16   purchasing decision of the audience. In particular, the listing of such patents, along with the warning

17   that “Ledalite will aggressively defend all of its intellectual property,” is likely to cause potential

18   customers, for which Ledalite and Finelite compete, to fear that purchasing Finelite’s competing

19   products may subject such customers to litigation or other actions.

20          91.     Ledalite caused these false statements to enter interstate commerce, including by

21   making them available on and distributing them from its website.

22          92.     Finelite has been or is likely to be injured as a result of Ledalite’s false statements, at

23   least by direct diversion of sales to Ledalite.

24          93.     Ledalite’s improper activities, as described above, have been willful and deliberate,

25   thereby making this an exceptional case under the Lanham Act.

26                                          COUNT XI
                           FALSE ADVERTISING UNDER CALIFORNIA LAW
27                                 (BUS. & PROF. CODE § 17500)
28          94.     Finelite hereby incorporates by reference, as though fully set forth herein, the


     COMPLAINT                                            29
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 1   allegations of paragraphs 1 through 93 above.

 2             95.    At all times herein mentioned, Ledalite was engaged in the manufacturing, marketing,

 3   distributing for sale, selling, and/or advertising of the above-identified lighting products to the

 4   public.

 5             96.    Ledalite represented to the public and its competitors, including Finelite, at least by

 6   means of the above-identified brochures, that the advertised lighting products were covered or

 7   protected by a list of patents that do not, in fact, cover or protect the advertised products.

 8             97.    Ledalite’s representations were untrue in that one or more of the patents that Ledalite

 9   claimed to cover or protect each of the advertised lighting products did not, in fact, cover or protect

10   such products.

11             98.    Ledalite made the representations herein alleged with the intention of inducing the

12   public to purchase Ledalite’s lighting products, instead of those of competitors, including Finelite

13             99.    At the time Ledalite made the misrepresentations herein alleged, Ledalite had no

14   reasonable grounds for believing the representations to be true.

15             100.   In making and disseminating the false statements herein alleged, Ledalite knew, or by

16   the exercise of reasonable care should have known, that the false statements were untrue or

17   misleading and so acted in violation of Section 17500 of the Business and Professions Code.

18             101.   As a proximate result of Ledalite’s misrepresentations, Finelite has suffered damages,

19   at least in the form of lost sales, in an amount to be proved.

20             102.   Unless restrained by this court, Ledalite will continue to engage in untrue and

21   misleading advertising, as alleged above, in violation of Section 17500 of the Business and

22   Professions Code, thus tending to render judgment in the instant action ineffectual. Finelite has no

23   adequate remedy at law in that Defendant will continue to engage in untrue and misleading

24   advertising, as alleged above.

25                                           COUNT XII
                           UNFAIR COMPETITION UNDER CALIFORNIA LAW
26                                  (BUS. & PROF. CODE § 17200)
27             103.   Finelite hereby incorporates by reference, as though fully set forth herein, the

28   allegations of paragraphs 1 through 102 above.


     COMPLAINT                                            30
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 1          104.    Ledalite’s advertising, as alleged above, constitutes unfair competition in violation of

 2   Section 17200 of the Business and Professions Code.

 3                                              JURY DEMAND
 4          105.    Finelite requests a trial by jury on all issues so triable.

 5                                          PRAYER FOR RELIEF
 6          WHEREFORE, Finelite respectfully requests that this Court:

 7          1.      Enter judgment against Ledalite and in favor of Finelite for the violations alleged in

 8   this Complaint;

 9          2.      Order Ledalite to pay a civil monetary fine of $500 per false marking offense, or an

10   alternative amount as determined by the Court, one-half of which shall be paid to the United States;

11          3.      Award Finelite actual damages for Ledalite’s false advertising, pursuant to 15 U.S.C.

12   § 1117(a)(2) and as otherwise permitted by law;

13          4.      Order Ledalite to provide an accounting for, and award, Ledalite’s profits derived

14   from its unlawful conduct pursuant to 15 U.S.C. § 1117(a)(1), and as otherwise permitted by law;

15          5.      Enjoin Ledalite and its agents, servants, and employees, and all persons acting under,

16   in concert with, or for Ledalite from making, disseminating, or causing to be made or disseminated

17   in any advertisement, brochure, or any other manner whatever, any statement concerning the

18   identified lighting products, that is untrue or misleading, and that is known, or by the exercise of

19   reasonable care should be known, to be untrue or misleading;

20          6.      Order Ledalite to reimburse Finelite for costs of suit, including reasonable attorneys’

21   fees, incurred herein;

22          7.      Award Finelite prejudgment and post-judgment interest; and

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 1         8.     Award Finelite such other and further relief as this Court deems just and proper.

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 3   Dated: March 25, 2010                      TURNER BOYD LLP

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 5                                              By:
                                                      Joshua M. Masur
 6
                                                      Attorneys for Plaintiff
 7                                                    FINELITE, INC.
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     COMPLAINT                                         32
